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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-303 GEB
     United States of America,           )
 9                                       ) MODIFICATION OF PRE-TRIAL RELEASE
                 Plaintiff,              ) CONDITIONS
10                                       )
           vs.                           )
11                                       )
                                         )
12   Rebecca Salsedo,                    )
                                         )
13               Defendant
14

15

16         Defendant Rebecca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.        Ms.
20   Salsedo is charged in counts one and three. Ms. Salsedo has tested
21   negatively for drug use at all times since her pre-trial release. The
22   parties agree and stipulate, with the agreement of pre-trial services,
23   that a continued drug testing condition is unnecessary for Ms. Salsedo
24   and should be stricken from her pre-trial release conditions.
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26   ///
27   ///
28   ///




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     Dated: March 22, 2012                 Respectfully submitted,
 1

 2
                                          /s/ Shari Rusk___
 3                                        Shari Rusk
                                          Attorney for Defendant
 4                                        Rebecca Salsedo

 5

 6                                          /s/ Jason Hitt
                                           Jason Hitt
 7                                         Assistant United States Attorney
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10
                                           ORDER
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12
           IT IS SO ORDERED.      The Court strikes the drug testing condition
13
     from defendant’s pre-trial release conditions.
14
     3/23/12
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17                                       GARLAND E. BURRELL, JR.
18
                                         United States District Judge

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